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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

Justina Stevens,

      Plaintiff,

      v.                                      Case No. 2:18-cv-1778

Trans Union LLC, et al.,                      Judge Michael H. Watson

      Defendants.                             Magistrate Judge Vascura

                                      ORDER

      Pursuant to the Court’s Show Cause Order, ECF No. 59, and Plaintiff’s

failure to respond to the same or object to the R&R, ECF No. 60, Plaintiff’s claims

against Credit One are DISMISSED WITH PREJUDICE pursuant to Federal Rule

of Civil Procedure 41(b) for failure to prosecute.

      IT IS SO ORDERED.



                                ____/s/ Michael H. Watson________________
                                MICHAEL H. WATSON, JUDGE
                                UNITED STATES DISTRICT COURT
